      Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DI ANGELO PUBLICATIONS, INC.,                     §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §    CIVIL ACTION NO. _____________
                                                  §    JURY TRIAL DEMANDED
JENTRY KELLEY                                     §
                                                  §
               Defendant.                         §
                                                  §


                     COMPLAINT FOR DECLARATORY JUDGMENT
                        OF AUTHORSHIP AND COPYRIGHTS


       Plaintiff, Di Angelo Publications, Inc. (“Di Angelo Publications”) files this Complaint

against Defendant, Jentry Kelley (“Kelley”), alleging as follows:

                                          THE PARTIES

       1.      Di Angelo Publications is a Texas corporation, with its principal office in

Houston, Texas, which is within the Southern District of Texas, Houston Division. Di Angelo

Publications is, and was at all times herein mentioned, qualified to do business in Texas. Di

Angelo Publications is a book publishing firm.

       2.      Kelley is an individual residing and doing business in Houston, or Harris County,

Texas, with an address where she may be served at 1907 Southwest Freeway Service Road,

Houston, Texas 77098. Kelley is engaged in the business of selling cosmetics, which she

advertises and sells within the jurisdiction of this Court.




                                                  1
        Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 2 of 9




                                  JURISDICTION AND VENUE

        3.      Jurisdiction is proper in this Court because this litigation arises under federal law,

namely 17 U.S.C. § 101 et seq, and particularly § 102(a) (Copyright Act). The Court has

jurisdiction over this action under 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1338(a)

(copyrights), and 28 U.S.C. § 2201 (Declaratory Judgment Act).

        4.      This Court has personal jurisdiction over Kelley because Kelley conducts

business in the state of Texas and within this District and Division, including contracts with

Texas corporations and the advertising and sale of her products to Texas residents. Also, a

substantial part of the events giving rise to the acts in issue herein occurred in this District.

        5.      Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1391(c).

        6.      An actual case or controversy has arisen between the parties. Kelley seeks full

rescission of a publishing agreement for a book written, illustrated, prepared and published by Di

Angelo Publications, (“book”) even though that book is complete, so that Kelley, in her view,

can print, publish and distribute the book without accounting to Di Angelo Publications. Di

Angelo Publications retained printing, publishing, and distribution rights in the book in the

publishing agreement and those rights are also protected under copyright law. There is a case or

controversy between the parties as to the authorship and the ownership of the copyrights in the

book.

                                               FACTS

        7.      Di Angelo Publications’ principal, Sequoia Schmidt (“Schmidt”), was a personal

friend of Kelley for many years. Kelley first approached Schmidt about helping Kelley with

publishing a book while they were both visiting a mutual friend. Their friendly conversation led




                                                   2
       Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 3 of 9




to a contract (“contract”) (Exhibit A), whereunder Di Angelo Publications agreed to prepare and

publish a book on behalf of Kelley.

        8.       Kelley indicated to Di Angelo Publications that the book was to be used by Kelley

for marketing the cosmetics that Kelley sold.

        9.       Kelley provided Di Angelo Publications with three pages (Exhibit B) of ideas or

thoughts to begin the book. Thereafter, communicating and/or collaborating with Kelley, Di

Angelo Publications wrote the book, planned and illustrated the book, prepared the layout for the

book, printed and published the book, and arranged with sellers for selling the book, on line and

in brick and mortar stores.

        10.      Di Angelo Publications planned, took or made, and formatted all of the

photographs and illustrations in the book.

        11.      The book (Exhibit C) is both a literary work and a visual art work but it is

predominantly a visual art work because over 50% of it is comprised of photographs and

illustrations.

        12.      The initial print run for the book was 1000 copies, all of which have been sold.

        13.      At Kelley’s request, Di Angelo Publications prepared an “update” or “revised”

version or sequel of the book. Di Angelo Publications was about to print and publish that update

when Di Angelo Publications learned that Kelley was trying to have the book and/or the update

printed herself, to the exclusion of Di Angelo Publications and contrary to the terms of the

contract.

        14.      The contract provided for Di Angelo Publications to retain its rights to print and

publish the book unless Kelley elected to buy those rights from Di Angelo Publications, which

Kelley has not done.




                                                   3
      Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 4 of 9




       15.     After Di Angelo Publications caught Kelley trying to circumvent Di Angelo

Publications’ publishing and distribution rights in the book by having the book printed herself,

Kelley brought suit in Texas state court, in Harris County, Texas, against Di Angelo

Publications. In that state court lawsuit (“state court lawsuit”) (Complaint & Answer at Exhibit

D), Kelley alleged breach of contract, fraud and deceptive trade practices by Di Angelo

Publications for adding a surcharge to Di Angelo Publications’ costs in preparing, printing,

publishing, and distributing the book.

       16.     Kelley had agreed in the contract to pay Di Angelo Publication’s “expenses” in

preparing, printing, publishing, and distributing the book. Kelley alleged in the state court

lawsuit that she did not understand those expenses would include a surcharge or mark-up over Di

Angelo’s actual out-of-pocket costs.

       17.      The contract does not include a definition of the term “expenses,” beyond the

context provided by the remainder of the contract and the purpose of the contract, and that term

is the focus of the state court lawsuit, in which Kelley has pled claims for unspecified amounts of

money damages.

       18.     The surcharge or mark-up of expenses Di Angelo Publications charged to Kelley

was and is typical of mark-ups common among publishers. This surcharge or mark-up is also

typical of reimbursable expense surcharges and mark-ups used by other businesses providing

services.

       19.     Di Angelo Publications’ surcharge or mark-up added to its actual costs spent on

out-of-pocket items for Kelley was to cover Di Angelo Publications’ expenses in: locating;

negotiating for or ascertaining and comparing price; selecting; ordering or obtaining; receiving;

checking; and processing or handling use of the item, be it a service or a goods type of product.




                                                 4
      Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 5 of 9




       20.     Di Angelo Publications’ expenses incurred in publishing a book vary from book

to book and client to client and sometimes this variance can be substantial. Such costs vary from

book to book and client to client depending on the nature of the client’s needs, and thus are not

fairly treated as general overhead, but rather are more fairly related to the particular book and

client with respect to which and for whom Di Angelo Publications incurs the expense.

Consequently, in Di Angelo Publications’ business model, to be able to offer and provide fair-

priced publishing services to a wider range of authors, Di Angelo Publications passes such

expenses along to the particular client/author to pay as incurred for their particular book.

       21.     Di Angelo Publications’ surcharge or mark-up in its expenses is not designed or

intended to provide Di Angelo Publications a profit and the surcharge or mark-up does not

provide Di Angelo Publications a profit.

       22.     Di Angelo Publications’ profits for its publishing services come from a 50% share

of net royalties on sales of books published by Di Angelo Publications. The contract provided

for Kelley to receive the remaining 50% share of net royalties on sales of the book that Di

Angelo Publications prepared, printed, published and distributed for Kelley.

       23.     Di Angelo Publications calculates net royalties on book sales by determining the

amount for which the books are sold less the printing, distribution and publishing expenses

associated with the books.

       24.     Under the contract, Kelley could buyout Di Angelo Publications’ rights to its

percentage of royalties for book sales. That is, Kelley could negotiate a total amount for Di

Angelo Publications to obtain as a profit for the book in lieu of Di Angelo Publications receiving

royalties on book sales.




                                                 5
      Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 6 of 9




       25.     Kelley did not buyout Di Angelo Publications’ right to its 50% share of net

royalties on book sales.

       26.     Since Kelley has not bought out Di Angelo Publications’ right to its 50% share of

net royalties on book sales, Di Angelo Publications retained its exclusive right to publish the

book and derivative works made from that book, such as revised and updated editions.

       27.     Di Angelo Publications’ exclusive right to publish the book inherently includes an

exclusive right to have the book printed for publication and distribution.

       28.     Di Angelo Publications owns and has not transferred its copyrights in its work on

the book and the update to the book—and such work includes writing, editing, planning and

taking photographs and having illustrations made, and designing the layout, and related work for

preparing the book for publication as a book.

       29.     Although all of the counts or claims in the state court lawsuit are directed to

Kelley’s claims for money damages for Di Angelo Publications’ adding a surcharge or mark-up

to its expenses that Kelley agreed to pay under the contract, Kelley has inexplicably alleged in

the state court lawsuit that she owns all rights in the book and its update and “ancillary

creations,” including “all intellectual property rights,” and thus including all copyrights.

       30.     In Kelley’s motion for summary judgment in the state court lawsuit and in two

oral arguments before the state court about that motion, Kelley’s counsel requested the state

court award rescission of the contract as a penalty or consequence of or remedy for Di Angelo

Publications’ including a surcharge or mark-up in its reimbursable expenses, although Kelley did

not include rescission as a requested remedy in the complaint.




                                                  6
      Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 7 of 9




       31.     In response to Kelley’s summary judgment motion, the judge in the state court

lawsuit did not rule or comment on Kelley’s request for rescission of the contract. Rather, the

court set Kelley’s claims for a March 2020 trial.

       32.     The federal questions of authorship and copyright ownership of the book and its

update should not and are not expected to be decided in the state court lawsuit.

       33.     The rescission remedy that Kelley seeks in the state court action reflects Kelly’s

denial of Di Angelo’s copyrights in the book.

       34.     The federal questions of authorship of, and copyright ownership in, the book and

its update are in controversy between the parties.

                                      CLAIMS FOR RELIEF

                                       CLAIM ONE
              (Declaratory Judgment Of Authorship and Copyright Ownership
                             of the Book and Its Update/Sequel

       35.     Di Angelo Publications incorporates by reference the allegations contained in

paragraphs 1 through 34, inclusive.

       36.     Through Di Angelo Publications’ efforts in preparing the book for publication,

including writing, editing, planning and taking all photographs and making all illustrations, and

planning, designing, and arranging the layout of the book, Di Angelo Publications has acquired

copyrights in the book.

       37.     Through Di Angelo Publications’ efforts in preparing the update to the book for

publication, including writing and editing the update and planning the layout for same, Di

Angelo Publications has acquired copyrights in the update to the book.

       38.     Di Angelo Publications has not transferred or assigned its copyrights in the book

or in the update to the book.




                                                 7
      Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 8 of 9




          39.   In an apparent attempt to side skirt Di Angelo Publications’ copyrights,

Kelley has claimed in a state court lawsuit that she owns all rights in the book and in the update

to the book, including copyrights. Kelley has made those assertions when the state court lawsuit

is not directed to copyright issues or to authorship issues, but rather is directed to whether Di

Angelo Publications wrongly included a surcharge in reimbursable expenses under the contract

for preparation and publishing of the book.

          40.   Kelley is seeking a remedy in that state court lawsuit--rescission of the contract

pursuant to which Di Angelo Publications prepared and published the book and prepared its

update—which in Kelley’s view would give Kelley full control of the book.

          41.   Kelley’s ignoring and denying Di Angelo Publications’ copyrights in the book

and its update adversely impacts Di Angelo Publications’ copyrights in the book and its update.

          42.   An actual, present, and justiciable controversy has arisen between Di Angelo

Publications and Kelly concerning authorship and copyright ownership of the book and its

update.

          43.   Di Angelo Publications seeks declaratory judgment from this Court that Di

Angelo Publications owns copyrights in the book and its update and those copyrights include

among other rights, the right of Di Angelo Publications to control the printing and distribution of

the book and its update, and the right to control use of the book and/or its update for preparation

of derivative works based on the book or its update.

                                     PRAYER FOR RELIEF

          WHEREFORE, Di Angelo Publications respectfully requests that the Court:

          44.   Enter judgment according to the declaratory relief sought;

          45.   Award Di Angelo Publications its costs in this action;




                                                  8
       Case 4:20-cv-00115 Document 1 Filed on 01/11/20 in TXSD Page 9 of 9




        46.     Enter such other further relief to which Di Angelo Publications may be entitled as

a matter of law or equity, or which the Court determines to be just and proper.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, Di Angelo Publications hereby demands

a jury trial on all issues so triable.

Dated: January 10, 2020                              Respectfully submitted,

                                                     /s/Karen B. Tripp

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                                                 9
